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 AO 106 (Rev. 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                               Southern District of Ohio

               In the Matter of the Search of                                 )
          (Briefly describe the properly to be searched
                                                                                          Case No. 1:21-MJ-00898
                                                                              )
           or idenlify the person by name and address)
                                                                              )
 Pri ority Mail Express. Label Number El 028477271 US, addressed to           )
  DK Y. 3055 Marshall Ave# 15 . C incinnati Ohio 45220 with a return
 address of .lennipher Grasso, 5092 Tranquil Way# IO I, Oceanside CA          )
                                 92057                                        )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (identify !he person or describe the
property to be searched and give its location):
    Priority Mail Express, Label Number El 028477271 US, addressed to DKY. 3055 Marshall Ave# 15, Cincinnati Ohio 45220 with a return address of.lennipher
                                                    Grasso, 5092 Tranquil Way# IOI . Oceanside CA 92057

located in the               Southern             District of                     Ohio
                                                                 - - - - - - - - - -- - ~
                                                                                                           , there is now concealed (ident[fj, the
person or describe the property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
21 , United States Code, Section 84l(a)(I).

           The basis for the search under Fed . R. Crim. P. 41 (c) is (check one or more) :
                ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  D prope1ty designed for use, intended for use, or used in committing a crime;
                  D a person to be arrested or a person who is unlawfully restrained .
           The search is related to a violation of: Title 21
         Code Section                                                              Offense Description
21 U.S.C. 841 (a) (1)                             Possession with intent to distribute a controlled substance


           The application is based on these facts :
See attached affidavit of U.S. Postal Inspector Alan J. Wilkins

           ~ Continued on the attached sheet.
           D     Delayed notice             days (give exact ending date if more than 30 days: - - - - - - ) is requested
                 under 18 U.S. C. § 3 I OJ a, the basis of which is set forth on the attach! heet.'/;)                   ,,la
                                                                                             Alan J. Wilkins, U.S. Postal Inspector
                                                                                                         Printed name and title

Sworn to before me and signed in my presence.
via electronic means, specifically Facetime video.

Date :       Nov 19, 2021
                                                                                                            Judge 's signature

                                                                                                     Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                 United States Magistrate Judge
                                                                                                         Printed name and ti/le
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                                        AFFIDAVIT

     I, Alan J. Wilkins, having been duly sworn, depose and state:

1.   I am a United States Postal Inspector with the United States Postal Inspection Service
     (USPIS), assigned to the Cincinnati, Ohio Field Office. I have been employed by the
     United States Postal Inspection Service since June 1, 2013. I have investigative
     responsibility for southwest Ohio and northern Kentucky. Part of my investigative
     responsibility involves the use of the United States Mail in the illegal transpmting of
     narcotics and other dangerous controlled substances and financial proceeds relating
     thereto .

2.   I have gained experience through completion of the Basic Inspector Training (BIT) in
     August of 2013. During BIT training, I was instructed in all phases of criminal
     investigation such as : criminal law, search and seizure, field enforcement techniques,
     firearms proficiency, drug and narcotics identification, drug and narcotics field testing,
     interviewing and evidence collection.      Since June 2013 I have worked with various
     federal, state, and local law enforcement agencies in the prosecution of crimes involving
     the U.S . Mail and the U.S . Postal Service including but not limited to mail fraud, bank
     fraud, mail theft, burglaries, robberies, homicides, dangerous mail investigations, and
     mailed narcotics.

3.   This Affidavit is made in support of a search warrant for the following property, namely
     the package associated with the following United States Postal Service ("USPS") Priority
     Mail Express Label Number:

            a.      EI 028477271 US (the "Subject Package")

     This Affidavit is made in support of a warrant to search the Subject Package for
     evidence of a crime as well as contraband, fruits of a crime or other items illegally
     possessed in relation to the following offense:

     a.     Possession with Intent to Distribute Controlled Substances, in violation of Title
            21 , United States Code, § 841.

     Because this Affidavit is submitted in support of the application of the United States to
     search the Subject Package, it does not include every fact known concerning this
     investigation. I have set fo11h facts and circumstances that I have relied upon to establish
     probable cause to justify the issuance of a warrant to search the Subject Package. The
     Subject Package is currently being held at the USPIS Cincinnati Field Office.

4.   Based on my training and experience, I have become aware that drug traffickers
     frequently use Priority Mail Express and/or Priority Mail, services offered by the USPS ,
     to transport narcotics and other dangerous controlled substances. As a result of
     investigations and successful controlled substance prosecutions where Priority Mail
     Express and/or Priority Mail were used, I have learned of ce11ain characteristics
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      associated with other Priority Mail Express and/or Priority Mail items previously
      identified as containing narcotics or other dangerous controlled substances. Some of
      these characteristics include (but are not necessarily limited to or used on every
      occasion): false or non-existent return address, addressee is not known to receive mail at
      the listed delivery address, the package is heavily taped, the package is mailed from a
      known drug source location, labeling information contains misspellings, the label
      contains an illegible waiver signature, unusual odors emanating from the package, and
      the listed address is located in an area of known or suspected drug activity.

5.    On or about November 19, 2021, I identified and intercepted the Subject Package from
      the Cincinnati Processing and Distribution Center located within the Southern District of
      Ohio.

      The Subject Package is further described as:

             Priority Mail Express, Label Number: EI 028477271 US
             Weighing approximately 2 pounds 11 ounces in a white box. Postage paid was
             $61.25.

             Sender:        Jennipher Grasso
                            5092 Tranquil Way #101
                            Oceanside CA 92057

             Addressee:     DKY
                            3055 Marshall Ave #15
                            Cincinnati Ohio 45220


6.    I observed the Subject Package and reviewed USPS tracking information, which
      indicated it was mailed from the Oceanside Post Office, Oceanside, CA 92058, on
      November 18, 2021. The Subject Package is heavily taped.

7.    I searched the CLEAR database for the listed return address of the Subject Package.
      CLEAR is an investigative platform available to law enforcement and other government
      investigators that contains public-record data about people and businesses. The
      information obtained from the system indicated that there is no Jennipher Grasso
      associated with that address.

8.    I searched the CLEAR database for the listed addressee of the Subject Package. The
      information obtained from the system indicated that there is no DKY associated with that
      address.

9.    On or about November 19, 2021 , a U.S. Postal Inspector arranged for Sergeant Anthony
      Lange, Hamilton County Sheriffs Office, to utilize a narcotics canine to check the
      Subject Package. Sergeant Lange and his canine "Kyla" are a currently certified
      narcotics team. The team is certified by the Ohio Peace Officer Training Commission and



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        the Ohio Office of the Attorney General. Sergeant Lange reports that "Kylo" passed all of
        his examinations and has successfully located hidden drugs in the past; I therefore
        consider "Kyla" to be reliable. Postal Inspectors met Sergeant Lange at the USPIS
        Cincinnati Field Office, where the Subject Package was placed in a separate office
        among several other similar packages and presented to "Kyla", who alerted positively to
        the presence or odor of a controlled substance upon the Subject Package. Attached to
        this Affidavit, and incorporated by reference, is a photocopy of the narcotic canine
        handler's record of examination

10.     Based upon my experience and training, this information, along with the positive alert of
        narcotic canine "Kyla," is indicative of the Subject Package containing narcotics or
        proceeds relating thereof.

11.     Based upon the information contained in this Affidavit, I believe that there is probable
        cause to believe that the Subject Package will contain evidence and/or contraband, fruits
        of crime, or other items illegally possessed. Therefore, a search warrant to open the
        Subject Package is requested.


                                                     Further, your Affiant sayeth naught.



                                                     Alan f!tf!lta
                                                     U.S. Postal Inspector


                                                        19
Subscribed and sworn to and before me this _ _ _ day of November 2021.
via electronic means, specifically Facetime video.



- ~- -       _._
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                        _ wm
Stephanie K. Bowman                         W
United States Magistrate Judge




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ff.~~ .."' United States Postal Inspection Service
              Pittsburgh Division




                                                    OFFICER AFFIDAVIT



        I, SGT LANGE, AM, AND HAVE BEEN, EMPLOYED BY THE HAMILTON COUNTY SHERIFF'S

        OFFICE, SINCE 1996. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIGNED HANDLER OF

        NARCOTICS DETECTION             CANINE   "KYLO", WHICH   IS TRAINED AND CERTIFIED IN THE

        DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLOWS:

        Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives

        ON 11/19/2021, AT THE REQUEST OF POSTAL INSPECTOR A. WILKINS I RESPONDED TO THE US

        POSTAL INSPECTION SERVICE CINCINNATI FIELD OFFICE WHERE "KYLO" DID ALERT TO AND

        INDICATE UPON THE FOLLOWING DESCRIBED ITEM:




        USPS Priority Mail Express, Label Number El 028477271 US, addressed to DKY,

        3055 Marshall Ave #15, Cincinnati Ohio 45220 with a return address of Jennipher

        Grasso, 5092 Tranquil Way #101, Oceanside CA 92057.

        BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "KYLO", I CONSIDER THE ABOVE

        DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

        OTHER DANGEROUS CONTROLLED SUBSTANCE.




        Cincinnati Field Office
        895 Central Avenue, Suite 400
        Cincinnati, OH 45202-5748
        Telephone: 513-684-8060
        FAX: 513-684-8009
